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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )           Case No. 1:22-cr-00015-APM
                        v.                          )
                                                    )
KELLY MEGGS, et al.                                 )
                                                    )
                                                    )


                  DEFENDANT KELLY MEGGS’S MOTION IN LIMINE
                   TO PRECLUDE USE OF STATEMENT IN OPENING

        Defendant Kelly Meggs, by and through his undersigned counsel, hereby respectfully

requests this court preclude the government’s use of a certain statement in its opening. Mr.

Meggs objects to the admissibility of these communications on the basis that the Government

both will not be able to prove that the communications are admissible, as well as to the relevance

and admissibility of the evidence pursuant to Rules 401, 403, and 404 of the Federal Rules of

Evidence.

   I.       BACKGROUND

        On July 29, 2022, Mr. Meggs filed a motion in limine seeking to preclude the admission

of communications from November 3, 2020, between Mr. Meggs and his wife, Connie Meggs,

on the grounds that they are subject to the marital communications privilege or otherwise . (ECF

No. 221). On August 12, 2022, the Government filed an opposition to the motion, arguing that

the communication was not subject to the marital communications privilege because Mr.

Meggs’s son was allegedly included on the relevant communication, or in the alternative that the

communications were admissible under the crime-fraud/joint participant exception to the martial

communications privilege. (ECF No. 248). On September 6, 2022, the Court entered an

Omnibus Order concerning a number of motions in limine in which, inter alia, it held that: “If
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the prosecution can demonstrate to the court that the Meggs’s son was on the communication at

issue, the court will admit it over objection.” (ECF No. 288).

         The government has advised that it intends to reference the messages in question in its

opening. The Court’s Order, however, made clear that the messages would only be admitted, “if

the prosecution can demonstrate to the Court that the Meggs’s son was on the communication at

issue.” Id. (emphasis added). Yet, the government has identified no new evidence to support its

assertion that the text messages in question were sent to Mr. Meggs’s son. To the contrary, the

government again points to a disclosure made on August 12, 2022, before it filed its opposition,

before the hearing on Mr. Meggs’s motion in limine, and before the Court ruled on the same.

That disclosure failed to establish that the messages were sent to Mr. Meggs’s son and the

government has proffered no new evidence to the contrary. At best, the disclosure submits that

at the time the “chat” within which the messages were exchanged was extracted from Mr.

Meggs’s phone, Mr. Meggs’s son was a member, or participant, on the chat. Yet the messages in

question were sent months prior to their extraction from Mr. Meggs’s phone and it is undisputed

that members of the chat can leave or join the chat at any time and did in fact do so. The simple

fact of the matter is that the government has not proffered, because it cannot prove, that the

messages in question were sent to Mr. Meggs’s son.

         Accordingly, it is incumbent upon the government, per the Court’s September 6, 2022,

Order, to further proffer to the Court to support, “the joint participation exception to the [marital]

communications privilege.” (Sep. 6, 2022) (ECF No. 288).

   II.      ARGUMENT

         Although the Court denied Mr. Meggs’s July 29, 2022 (ECF No. 221), Motion in Limine

to exclude the admission of certain prejudicial text messages sent to his wife on November 3,
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2020, it did so conditionally, requiring the government to submit additional proof of the

admissibility of the statements. As the Court wrote in its September 6, 2022, Omnibus Order:

“If the prosecution team can demonstrate to the court that the Meggs’s son was on the

communications at issue, the court will admit it over objection. If the communication did not

include the Meggs’s son, the court will require a further proffer from the government to support

the joint participation exception to the [marital] communications privilege.” (ECF No. 288).

The government has offered no additional evidence, not since the Court’s September 6, 2022,

Omnibus Order; not since the Court’s August 30, 2022, hearing; and not since it filed its

opposition to Mr. Meggs’s motion on August 12, 2022. Accordingly, the government has not

demonstrated to the Court that Mr. Meggs’s son was included in the communications in question

and the government should be barred from using the same in its opening. Even if it had made

such a demonstration, the government has nevertheless failed to proffer evidence sufficient to

support a finding that the communication was in furtherance of any crime. Or in the alternative,

the statements in question should not be admitted because they are both irrelevant and more

prejudicial than probative of any element of any offense with which Mr. Meggs has been

charged.

           a. The Statements Are Subject to the Marital Communications Privilege

       “There are two kinds of marital privilege: (1) testimonial privilege; and (2) the

confidential communications privilege. According to the testimonial privilege, the government is

precluded from compelling one spouse to testify against his or her spouse in a criminal case.”

United States v. Duran, 884 F. Supp. 537, 540 (D.D.C. 1995) (citing Trammel v. United States,

445 U.S. 40, 49-50 (1958)). “The confidential communications privilege bars the admission of:

(1) any words or actions which are intended by one spouse to be a communication to the other;

(2) when the communications occurred during the time of a valid marriage; and (3) where the
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spouse intended for the communication to be confidential.” Id. Such communications, “enjoy a

presumption of confidentiality.” Id. See also SEC v. Lavin, 111 F.3d 921, 925 (D.C. Cir. 1997)

(“The confidential communications privilege may be asserted against the production of evidence

when four prerequisites are met: (1) there must have been a communication; (2) there must have

been a valid marriage at the time of the communication; (3) the communication must have been

made in confidence; and (4) the privilege must not have been waived.”). “Federal common law

assumes that private communications between spouses are intended to be confidential, and thus

privileged. For this reason, the government bears the burden of showing that the communication

was not intended to be confidential.” United States v. Strobehn, 421 F.3d 1017, 1021 (9th Cir.

2005) (internal citations omitted) (citing Blau v. United States, 340 U.S. 332, 333 (1951)).

As the Court has already noted, the government has yet to meet its burden. Although the

government claims the communications in question were also sent to Mr. Meggs’s son, the

government has failed to prove as much. The only evidence cited by the government is a report

by its expert noting that at the time the chat was extracted from Mr. Meggs’s phone, Mr.

Meggs’s son was a participant in the chat. But the communications in question were sent months

earlier, and it is undisputed that the participants in the “family chat” in fact did come and go

from the chat. Accordingly, the communications in question remain inadmissible and the

government should be precluded from referencing the same in its opening.

           b. The Statements are not Subject to the Joint Participation Exception to the Marital
              Communications Privilege

       Circuits to have recognized the “joint participation exception” to the marital,

“confidential communications privilege,” have observed that, “where marital communications

have to do with the commission of a crime in which both spouses are participants, the

conversation does not fall within the marital privilege.” United States v. Parker, 1987 U.S. App.
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LEXIS 15758, at *6 (4th Cir. 1987). The government cannot reasonably dispute that neither Mr.

Meggs nor Mrs. Meggs are alleged to have engaged in any criminal activity on November 3,

2020. Indeed, the government acknowledges the earliest Mr. Meggs allegedly joined any

conspiracy was on November 9, 2020. This is logical insofar as to the extent the government

alleges the purpose of any conspiracy joined by Mr. Meggs was to stop the lawful transfer of

power from former President Trump to President Biden, the election had not concluded, let alone

been called, when the communications in question were sent. Nor is the fact that Mr. and Mrs.

Meggs are later alleged to have spent time in the Rotunda of the Capitol building, which is

outside the Speaker’s Suite, sufficient reason to permit the government to inform the jury of Mr.

Meggs’s election-night rhetoric.

       Regardless, this Court need not decide whether the joint participation exception to the

marital communications privilege applies in this District because the statements in question are

far more prejudicial than they are probative.

           c. Statements are Inadmissible Because They Lack Relevance Under FRE 401, or
              Are Inadmissible as Evidence of Prior Bad Acts Under FRE 404, or Must Be
              Excluded Pursuant to FRE 403

       The Government has consistently stated that the matters at issue in this case relate to an

alleged conspiracy that had not begun as of November 3, 2020. See Superseding Indictment ¶¶

1-2 (ECF No. 167) (“After the Presidential Election, [Defendants, including Kelly Meggs]

conspired. . . to oppose by force the lawful transfer of presidential power.”) (emphasis added).

Indeed, the earliest acts in furtherance of any conspiracy alleged within the indictment do not

occur until November 5, 2020, two days after the proffered communications allegedly occurred.

See id. at ¶ 18. Further, Counts II through IV explicitly limit the dates relating to those counts,

and the dates of transmission for these alleged communications fall outside the date of any

alleged wrongdoing. See id. at ¶¶ 136, 138, 140.
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       Under Federal Rule of Evidence 401, evidence is only relevant if it is both probative and

material. FRE 401. Evidence is probative if it “has any tendency to make a fact more or less

probable than it would be without the evidence[.]” FRE 401(a). Evidence is material if “the fact

is of consequence in determining the action.” FRE 401(b). The Government has provided no

evidence to establish that there was a seditious conspiracy prior to November 5, 2021, at the

earliest. As such, evidence relating to events taken prior to the existence of a conspiracy does

not have any effect on determining an action to prove the existence of a conspiracy that is not

alleged to have existed at the time the communications are alleged to have been sent. The

communications at issue clearly are not material in that they cannot prove that a conspiracy

existed or that Mr. Meggs acted in furtherance of a conspiracy that is not alleged to have existed

at that time, and therefore the evidence is not relevant and therefore is not admissible.

       At most, the communication is evidence of “other crimes, wrongs, or acts” under FRE

404(b). Under FRE 404(b), evidence of such prior bad actions is not admissible “to prove a

person’s character in order to show that on a particular occasion the person acted in accordance

with the character.” FRE 404(b)(1). The government has not provided any reason for which

they are able to offer the messages that amount to evidence of Mr. Meggs’s alleged prior bad acts

before the existence of the alleged underlying conspiracy, and therefore they cannot be admitted

under FRE 404(b).

       Finally, even if the alleged communications are found to be relevant, the Court should

exclude them under FRE 403. Under FRE 403, the Court “may exclude relevant evidence if its

probative value is substantially outweighed by a danger of one or more of the following: unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence.” Id. (emphasis added). This Court has previously excluded or
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limited the use of evidence of actions taken prior to the timeline at issue in a criminal

proceeding, despite the relevance of the evidence, on the basis that detailed testimony of actions

taken that fall outside the timeframe at issue in the case have a substantial likelihood of

confusing the issues for the jury. See United States v. Libby, 467 F. Supp. 2d 1, 10 (D.D.C.

2006) (using FRE 403 to exclude evidence on the basis of confusing the issues. The evidence at

issue were “documents and information which relate to the defendant’s activities occurring

outside these clearly critical time periods [as alleged in an indictment for when the Defendant

gained information that led to his alleged criminal actions]. Although this Court cannot say with

absolute certainty that no other documents or information related to events falling outside these

time periods are totally irrelevant, their probative value is diminished. . . [and] there is a ‘danger

of unfair prejudice, confusion of the issues, or misleading the jury,’ in providing the jury details

of the defendant’s activities falling outside the critical time periods. Specifically, permitting the

defendant to testify as to the details of what consumed his time outside the critical time periods

discussed above would likely confuse the jury[.]”)

       Mr. Meggs’s statements prior to the existence of any alleged conspiracy offer no value in

determining if Mr. Meggs engaged in the criminal conduct as alleged in the indictment.

Moreover, the alleged statements are extremely inflammatory and would very likely influence

the decision-making of the jury if they were introduced at trial. The potential for prejudice

against Mr. Meggs substantially outweighs what minimal relevance the statements may have.

                                          CONCLUSION

       This Court properly conditioned the admission of Mr. Meggs’s alleged election-night

statements on the government’s ability to demonstrate that the statements in question were made

to Mr. Meggs’s son and thus not properly to any marital communications privilege. For the
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forgoing reasons, the Court should bar the government from referencing the statements in its

opening or at any other time until the government has met the requisite showing of their

admissibility despite the application of the marital confidential communications privilege. Even

were the government to make such a demonstration, Mr. Meggs’s reiterates that the

communications are not relevant to this action, and even if they were relevant, they are far more

prejudicial than they are probative.

                               [SIGNATURE ON NEXT PAGE]
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Dated: October 2, 2022          Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        On October 2, 2022, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties.

                                                       /s/ Stanley E. Woodward, Jr.
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